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UN|TED STATES OF AMER|CA
den us cigna comr
DEMAR|O N|XON

Pam Hamrin FPD

Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on March 24, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section Mn§e Offense Number¢sl
Conc|uded
18 U.S.C. §§ 924(0) and 2 Brandishing a Firearm During and 01/10/2003 2

in Relation to a Crime of Violence,
Speciflca|ly Ban|< Robbery

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 1 is dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/17/1976 June 30, 2005
Deft’s U.S. Nlarsha| No.: 18955-076

Defendant’s Mailing Address:

854 Crockett

Apt. 7

Memphis, TN 38107

  
  

  
 
   
      
     

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BERNlo B. DoNALo
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July Q , 2

Thls document entered on the docket shea n

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with Hule 55 and/or 32(b) FHCrP on p

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Case No: 2:030R20155-01 Defendant Name: Demario N|XON Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months.

The Court recommends to the Bureau of Prisons:
That the defendant be designated to the Federal Medical Faci|ity at Springfield,
Missouri, to continue to get mental health treatment

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:03CR20155-01 Defendant Name: Demario NiXON Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T!ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation ofncer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation of&cer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:030R20155-01 Defendant Name: Demario NIXON Page 4 of 5

10. The defendant shaft notify the probation ofhcer within 72 hours of being arrested or questioned by a
law enforcement ofncer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Crimina| |V|onetary Penalties sheet of this judgment,

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall participate in mental health counseling as directed by the Probation
Oflicer;

The defendant shall obtain and maintain full-time employment

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00 $3045.45

The Specia| Assessment shall be due immediately.

FlNE
No fine imposed.

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Case No: 2:03CR20155-01 Defendant Name: Demario NlXON Page 5 of 5

REST|TUT|ON

Restitution in the amount of $3045.45 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of Pa¥ee Amount Restitution Ordered or
of Loss Percentage
of Payment

BANK OF AMERICA $3045.45 $3045.45

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:
The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. Defendant to notify
the Court and the United States Attorney of any material change in economic
circumstances that may affect defendant’s ability to pay restitution.

Unless the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment Ali criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financiai Responsibility Program, are made to the clerk of the
court, unless othen~ise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

UNITED S`TATES DISTRIC COURT - WESTRNE DITRIC o TENNESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:03-CR-20155 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

